Case 4:23-cv-00291-GKF-MTS Document 3 Filed in USDC ND/OK on 07/14/23 Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT FOR THE

                                 NORTHERN DISTRICT OF OKLAHOMA

  1. MERRELL LOGISTICS, LLC;                       )
  2. MERRELL TRANSPORT, LLC;                       )
  3. SOUTHERN GLAZER'S WINE AND                    )
  4. SPIRITS OF OKLAHOMA, LLLP, by 4.              )
  4. and through MERRELLTRANSPORT, 5.              )
  5. LLC,                                          )
                                                   )
                   Plaintiffs,                     )
  vs.                                              )         Case No. 23-cv-00291-GKF-MTS
                                                   )
  1. DMFL EXPRESS, INC.; and                       )
  2. CANOPIUS US INSURANCE, INC.,                  )
                                                   )
                   Defendants.                     )

                                      NOTICE OF REMOVAL

            Defendant, Canopius US Insurance, Inc. (“Defendant”), hereby removes the action

  commenced by Plaintiffs, Merrell Logistics, LLC, Merrell Transport, LLC, and Southern Glazer’s

  Wine and Spirits of Oklahoma, LLLP (“Plaintiffs”), from the District Court in and for Tulsa

  County, Oklahoma, to the United States District Court for the Northern District of Oklahoma.

            A civil action was commenced by Plaintiffs on or about April 19, 2023, and service of

  process upon Defendant Canopius US Insurance was completed on June 15, 2023. (See Exhibits 1

  and 2).

            This matter is now pending in the District Court in and for Tulsa County, Oklahoma,

  designated as Case No. CJ-2023-01404. Pursuant to 28 U.S.C. § 1446(a), copies of all process,

  pleadings, and orders served on Defendant in the state court case are attached hereto as Exhibits 1

  and 2. Pursuant to LCvR81-2, copies of all documents filed in the state court case are attached as

  Exhibits 1, 3, 4, 5, 6 & 7. A copy of the Tulsa County Court Clerk Docket Sheet for the case is

  attached as Exhibit 8.
Case 4:23-cv-00291-GKF-MTS Document 3 Filed in USDC ND/OK on 07/14/23 Page 2 of 5




         1.      This Notice of Removal is being filed within thirty days of Defendant’s receipt of

  service of process of the Petition, as permitted by 28 U.S.C. § 1446(B)(3). Defendant hereby

  reserves any and all rights to assert the insufficiency of process or insufficiency of service of

  process as defenses to Plaintiffs’ Petition.

         2.       No hearings have been held in the District Court in and for Tulsa County,

  Oklahoma as of the date of the filing of this removal.

         3.      This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a)

  in that the parties to this action are citizens of different states and the amount in controversy,

  exclusive of interest and costs, exceeds the sum of $75,000.00.

         4.      There is complete diversity in this case as of the date of this notice.

         5.      According to the Petition, Plaintiff Merrell Logistics, LLC is a limited liability

  company, organized under the laws of the State of Oklahoma, with its principal place of business

  in Tulsa County, Oklahoma. Upon information and belief, Plaintiff Merrell Logistics, LLC is

  domiciled in Tulsa County, Oklahoma.

         6.       According to the Petition, Plaintiff Merrell Transport, LLC is a limited liability

  company, organized under the laws of the State of Oklahoma, with its principal place of business

  in Tulsa County, Oklahoma. Upon information and belief, Plaintiff Merrell Transport, LLC is

  domiciled in Tulsa County, Oklahoma.

         7.      According to the Petition, Plaintiff Southern Glazer’s Wine and Spirits of

  Oklahoma, LLLP is a limited partnership, doing business in Tulsa County, Oklahoma. Upon

  information and belief, Plaintiff Southern Glazer’s Wine and Spirits of Oklahoma, LLLP is

  organized under the laws of the State of Oklahoma, with its principal place of business in

  Oklahoma. Upon information and belief, Plaintiff Southern Glazer’s Wine and Spirits of




                                                   2
Case 4:23-cv-00291-GKF-MTS Document 3 Filed in USDC ND/OK on 07/14/23 Page 3 of 5




  Oklahoma, LLLP is domiciled in Oklahoma.

         8.      Defendant Canopius US Insurance, Inc., is an insurance company organized under

  the laws of the State of Delaware with its principal place of business in Delaware, doing business

  in Tulsa County, Oklahoma.

         9.       Defendant DMFL Express, Inc., is a motor carrier corporation organized under the

  laws of the State of Florida with its principal place of business in Florida, doing business in Tulsa

  County, Oklahoma.

         10.     Plaintiffs have not completed service of process on Defendant DMFL Express, Inc.

  (Ex. 7, ¶¶ 4-11). Because DMFL Express, Inc. has not been “properly joined and served,” its

  consent to remove is not required. 28 U.S.C. § 1446(b)(2)(A).

         11.     Because Plaintiffs expressly claim they are seeking damages against both

  Defendants in an amount “in excess of $75,000.00,” the amount in controversy is satisfied. The

  amount in controversy requirement is met if, among other things, “it is apparent from the face of

  the petition that the claims are likely to exceed $75,000.00.” Manguno v. Prudential Prop. & Cas.

  Ins. Co., 276 F.3d 720, 723 (5th Cir. 2002). The amount in controversy is satisfied unless “it is

  ‘legally certain’ that the recovery (from plaintiff’s perspective) or cost of complying with the

  judgment (from defendant’s) will be less than the jurisdictional floor . . . .” McPhail v. Deere &

  Co., 529 F.2d 947, 955 (10th Cir. 2008) (quoting Meridian Security Ins. Co. v. Sadowski, 441 F.3d

  536, 543 (7th Cir. 2006)).

         12.     Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446 removal of the above-captioned state

  court action is appropriate.

         13.     Promptly after filing this Notice of Removal, Defendant Canopius US Insurance

  will serve upon the Plaintiffs and file with the Clerk of the District Court in and for Tulsa County,




                                                   3
Case 4:23-cv-00291-GKF-MTS Document 3 Filed in USDC ND/OK on 07/14/23 Page 4 of 5




  Oklahoma, as required by law, a “Notice of Filing of Notice of Removal” (without exhibits) in the

  form attached as Exhibit 9.

          14.     Venue is proper in this Court pursuant to 28 U.S.C. § 1441(a) in that Tulsa County

  is within the Northern District of Oklahoma.

          15.     By removing this action to this Court, Defendant does not waive any defenses,

  objections, or motions available to it under state or federal law. Defendant expressly reserves the

  right to move for dismissal of Plaintiff’s claims pursuant to Rule 12 of the Federal Rules of Civil

  Procedure.

          16.     If any question arises as to the propriety of this removal, Defendant requests the

  opportunity to conduct discovery or brief any disputed issues and to present oral argument in

  support of its position that this civil action is properly removable. See McPhail v. Deere & Co.,

  529 F.3d 947, 954 (10th Cir. 2008).

          WHEREFORE, Defendant Canopius US Insurance, Inc. gives notice that that this action

  is hereby removed to this Court for further proceedings as though this action had originally been

  instituted in this Court.



                                                 s/Michael T. Maloan
                                                 Michael T. Maloan-OBA# 15097
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                                                   4
Case 4:23-cv-00291-GKF-MTS Document 3 Filed in USDC ND/OK on 07/14/23 Page 5 of 5




                                    CERTIFICATE OF SERVICE

         [X] I hereby certify that on this 14th day of July, 2023, I electronically transmitted the
  attached document to the Clerk of Court using the ECF System for filing and transmittal of a
  Notice of Electronic Filing to the following ECF registrants:

  Heath E. Hardcastle
  Albright Rusher & Hardcastle
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  15 West Sixth Street
  Tulsa, OK 74119-5434
  Telephone: 918-583-5800
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                                              s/Michael T. Maloan




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